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                       UNITED STATES DISTRICT COURT
                        DISTRICT OF MASSACHUSETTS
_________________________________
                                  )
UNITED STATES                     )
                                  )
v.                                )          CASE NO. 19-5160-JGD
                                  )
DAVID JOHN                        )
                                  )
_________________________________)

                         MOTION TO WITHDRAW AS COUNSEL

       NOW COMES the undersigned, Jonathan D. Plaut and Cohan Rasnick Plaut LLP, and

move to withdraw as counsel in this case. This motion is filed at the joint request of undersigned

counsel and the defendant, David John.

       The undersigned has conferred with counsel for the United States, Sara Bloom, Esq., and

the United States does not object to this motion.


                                             Respectfully Submitted,

                                             DAVID FONDOTS

                                             By his attorney,




                                             ______________________
                                             Jonathan D. Plaut
                                             BBO#: 638344
                                             COHAN RASNICK MYERSON PLAUT LLP
                                             One State Street Suite 1200
                                             Boston, MA 02109
                                             (617) 451-3200
                                             jdplaut@chardonlaw.com
Date: January 3, 2020
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                                 CERTIFICATE OF SERVICE

       I hereby certify that the foregoing was filed through the Electronic Court Filing system

and will be sent electronically to the registered participants as identified on the Notice of

Electronic Filing.

                                               Respectfully Submitted,




                                               ______________________
                                               Jonathan D. Plaut

Date: January 3, 2020




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